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                                    EXHIBIT A

                                        Fees




30528370.1
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             YOUNG CONAWAY STARGATT & TAYLOR, LLP
                                                        RODNEY SQUARE
                                                    1000 NORTH KING STREET
                                                  WILMINGTON, DELAWARE 19801

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(302) 571-6646                                                                                           mlunn@ycst.com




Official Committee of Unsecured Creditors                              Invoice Date:                  July 10, 2023
200 Park Avenue                                                        Invoice Number:                   50043782
New York, NY 10166                                                     Matter Number:                 102750.1001



Re: FTX
    Billing Period through May 31, 2023


CURRENT INVOICE


                       Professional Services                                     $       105,089.50

                       Disbursements                                             $           840.80

                       Total Due This Invoice                                    $       105,930.30
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                                                               Matter Number:                102750.1001



Time Detail

Date          Initials        Description                                Task       Hours       Amount
05/02/23      DLASK           Review and evaluate incoming pleadings B001            0.20         73.00
                              and correspondence for distribution to co-
                              counsel
05/02/23      JKOCH           Review various recently filed pleading     B001         2.10      1,176.00
                              and draft and revise critical dates
                              memorandum based on same
05/03/23      DLASK           Review and evaluate incoming pleadings B001             0.20         73.00
                              and correspondence for distribution to co-
                              counsel
05/03/23      MLUNN           Review and evaluate draft critical         B001         0.20        205.00
                              deadline memo
05/03/23      RFPOP           Emails to and from J. Kochenash and        B001         0.20        178.00
                              Debbie re: draft critical dates memo
05/04/23      DLASK           Review and evaluate incoming pleadings B001             0.30        109.50
                              and correspondence for distribution to co-
                              counsel
05/08/23      DLASK           Review and evaluate incoming pleadings B001             0.20         73.00
                              and correspondence for distribution to co-
                              counsel
05/09/23      DLASK           Review and evaluate incoming pleadings B001             0.20         73.00
                              and correspondence for distribution to co-
                              counsel
05/09/23      DLASK           Review and evaluate incoming pleadings B001             0.20         73.00
                              and correspondence for distribution to co-
                              counsel
05/09/23      RFPOP           Review and analyze debtors motion to       B001         0.20        178.00
                              extend deadline to objection to
                              dischargeability of debts
05/10/23      DLASK           Update and draft critical deadline memo    B001         0.20         73.00

05/10/23      DLASK           Review and evaluate incoming pleadings B001             0.30        109.50
                              and correspondence for distribution to co-
                              counsel
05/10/23      MLUNN           Analysis of UST objection to sealing       B001         0.40        410.00
                              motion and analyze potential responses
                              for reply
05/12/23      DLASK           Review and evaluate incoming pleadings B001             0.20         73.00
                              and correspondence for distribution to co-
                              counsel
05/12/23      MLUNN           Analyze reply of Ad hoc group to           B001         0.30        307.50
                              objection to customer sealing request
05/12/23      RFPOP           Review and analyze ad hoc customer         B001         0.30        267.00
                              group reply to objections to seal motion
                                                                                                  Page Number 2
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Date          Initials        Description                                Task        Hours       Amount
05/17/23      DLASK           Review and evaluate incoming pleadings B001             0.20         73.00
                              and correspondence for distribution to co-
                              counsel
05/18/23      DLASK           Review and evaluate incoming pleadings B001              0.20         73.00
                              and correspondence for distribution to co-
                              counsel
05/22/23      DLASK           Review and evaluate incoming pleadings B001              0.10         36.50
                              and correspondence for distribution to co-
                              counsel
05/24/23      DLASK           Review and evaluate incoming pleadings B001              0.20         73.00
                              and correspondence for distribution to co-
                              counsel
05/24/23      JKOCH           Review various recently filed pleadings   B001           0.80        448.00
                              (.4) and revise critical dates memorandum
                              based on same (.4)
05/30/23      DLASK           Review and evaluate incoming pleadings B001              0.20         73.00
                              and correspondence for distribution to co-
                              counsel
05/30/23      JKOCH           Email correspondence with R. Poppiti and B001            0.10         56.00
                              K. Pasquale re: June 8th hearing
05/02/23      DLASK           Assemble pleadings, prepare hearing        B002          0.50        182.50
                              binders
05/02/23      MLUNN           Review agenda re: May 4th hearing and       B002         0.20        205.00
                              witness list and testimony
05/02/23      RFPOP           Review agenda and debtors witness list      B002         0.20        178.00
                              for May 4th hearing
05/03/23      RFPOP           Emails to and from Paul Hastings (Ken       B002         0.20        178.00
                              Pasquale) re: May 4th hearing
05/04/23      MLUNN           Review pleadings in preparation for       B002           2.40      2,460.00
                              hearing, including correspondence with R.
                              Poppiti (1.3); correspondence with K.
                              Pasquale and E. Gilad re: hearing (.3);
                              and attend hearing re: Ledger X sale (.8)
05/04/23      RFPOP           Prepare, including emails to and from M. B002            1.90      1,691.00
                              Lunn and Paul Hastings (Ken Pasquale
                              and Erez Gilad), call with M. Lunn, and
                              review further revised LedgerX sale order
                              (1.1), and attend (.8) hearing
05/10/23      JKOCH           Finalize notices of exhibits and witness    B002         0.30        168.00
                              for May 17 hearing
05/12/23      MLUNN           Correspondence with K. Brown and            B002         0.30        307.50
                              correspondence with K. Pasquale and R.
                              Poppiti re: May 17th hearing
05/15/23      MLUNN           Correspondence with K. Pasquale and R.      B002         0.20        205.00
                              Poppiti re: May 17th hearing cancellation
                              and matters scheduled and related timing
                              for responsive pleadings
                                                                                                   Page Number 3
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Date          Initials        Description                                  Task      Hours       Amount
05/15/23      MLUNN           Correspondence from K. Brown to Court        B002       0.10        102.50
                              re: cancellation of May 17th hearing and
                              moving hearing to June 8th
05/15/23      RFPOP           Emails to and from Paul Hastings (Ken        B002        0.20        178.00
                              Pasquale), counsel for debtors (Kim
                              Brown) and counsel for JPL (Brett
                              Bakemeyer) re: May 17th hearing
05/24/23      MLUNN           Correspondence with K. Pasquale re: June B002            0.10        102.50
                              8th hearing and witness availability
05/25/23      MLUNN           Correspondence with UST re: June 8th         B002        0.10        102.50
                              hearing matters and order of matters
05/25/23      MLUNN           Correspondence with R. Poppiti re: issues B002           0.20        205.00
                              and matters scheduled for June 8th
                              hearing and UST's email re: status
05/25/23      RFPOP           Emails from counsel for ad hoc group      B002           0.10         89.00
                              (Erin Broderick) and UST re: June 8th
                              hearing
05/31/23      MLUNN           Correspondence from counsel for Debtors B002             0.20        205.00
                              re: June 8th hearing logistics and Judge's
                              availability and related correspondence
                              with K. Pasquale re: same
05/31/23      RFPOP           Emails to and from Paul Hastings (Ken     B002           0.20        178.00
                              Pasquale), counsel for debtors (Kim
                              Brown and Brian Glueckstein), counsel
                              for JPL (Brett Bakemeyer), counsel for ad
                              hoc customer group (David Wender), and
                              UST re: sequencing for June 8th hearing
05/17/23      RFPOP           Email from Paul Hastings (Erez Gilad) re: B004           0.20        178.00
                              bar date and schedules and statement
                              issues
05/31/23      MLUNN           Analysis of Fifth Interim operating report   B004        0.30        307.50
                              filed by FTX
05/31/23      RFPOP           Review and analyze debtors fifth interim     B004        0.30        267.00
                              financial update
05/01/23      MLUNN           Analyze sale processes and review            B006        0.60        615.00
                              materials re: same
05/01/23      RFPOP           Email from Paul Hastings (Gabe Sasson)       B006        0.20        178.00
                              re: sale process update
05/01/23      RFPOP           Emails from counsel for debtors (Alexa B006              0.20        178.00
                              Kranzley) and UST re: UST comments to
                              customer redaction motion
05/02/23      MLUNN           Analyze sale process updates and       B006              0.40        410.00
                              recommendations in preparation for UCC
                              meeting
05/02/23      MLUNN           Analyze revised Ledger X sale order          B006        0.40        410.00



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Date          Initials        Description                                 Task       Hours       Amount
05/02/23      RFPOP           Email from FTI (Brian Bromberg) re:         B006        0.10         89.00
                              updated cash flow forecast
05/02/23      RFPOP           Review and analyze revised proposed         B006         0.20        178.00
                              LedgerX sale order
05/03/23      MLUNN           Analyze sale process timeline               B006         0.20        205.00

05/03/23      MLUNN           Review summary of de minimis asset          B006         0.10        102.50
                              sales
05/03/23      RFPOP           Review and analyze debtors supplemental B006             0.20        178.00
                              objection in support of LedgerX sale
05/03/23      RFPOP           Review and analyze debtors de minimis       B006         0.10         89.00
                              asset sale notice for Vy Dharana
05/03/23      RFPOP           Emails from Paul Hastings (Kris Hansen), B006            0.10         89.00
                              counsel for ad hoc group (David Wender)
                              and UST re: LedgerX sale
05/03/23      RFPOP           Emails to and from Paul Hastings (Ken    B006            0.20        178.00
                              Pasquale), counsel for debtors (Alexa
                              Kranzley), and UST re: committee and
                              debtors motion to redact customer
                              information
05/03/23      RFPOP           Review and analyze sale process             B006         0.30        267.00
                              materials from Jefferies, and emails from
                              Jefferies (Daniel Homrich) re: same
05/04/23      RFPOP           Review and analyze media parties            B006         0.40        356.00
                              objection to committee and debtors
                              customer redaction motion
05/05/23      RFPOP           Emails from FTI (Steve Simms) and           B006         0.20        178.00
                              committee re: cash deposit and
                              investment issues
05/06/23      MLUNN           Review Mystin sale memo and related         B006         0.10        102.50
                              issues
05/08/23      RFPOP           Email to and from Paul Hastings             B006         0.20        178.00
                              (Caroline Diaz) re: reply to objection to
                              customer redaction motion
05/09/23      RFPOP           Review and analyze UST comments to          B006         0.20        178.00
                              joint customer redaction motion, and
                              email from UST re: same
05/10/23      MLUNN           Review de Minimis asset sale summary        B006         0.10        102.50

05/10/23      RFPOP           Review and analyze UST objection to         B006         0.20        178.00
                              debtors and committee joint customer
                              redaction motion




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Date          Initials        Description                                 Task      Hours       Amount
05/10/23      RFPOP           Review and comment on draft notice of       B006       0.70        623.00
                              exhibit and witness list for debtors and
                              committee joint customer redaction
                              motion (.4), and call with M. Neiburg (.1),
                              call with Paul Hastings (Ken Pasquale (.1)
                              and email to and from J. Kochenash (.1)
                              re: same
05/11/23      RFPOP           Review and analyze updated de minimis B006              0.10         89.00
                              asset sale summary for venture portfolio,
                              and email from PWP (Nikhil Velivela) re:
                              same
05/12/23      RFPOP           Emails to and from M. Lunn and Paul         B006        0.30        267.00
                              Hastings (Ken Pasquale) re: debtors and
                              committee joint motion to redact
                              customer information and UST objection
                              to same
05/15/23      RFPOP           Emails to and from Paul Hastings (Ken       B006        0.20        178.00
                              Pasquale and Isaac Sasson) re: reply to
                              objections to joint committee and debtors
                              customer redaction motion
05/18/23      MLUNN           Analysis of de minimis asset sale offers    B006        0.10        102.50

05/18/23      RFPOP           Review and analyze venture portfolio        B006        0.30        267.00
                              materials from Jefferies, and email from
                              Jefferies (Lars Hultgren) re: same
05/18/23      RFPOP           Review and analyze updated cash flow        B006        0.20        178.00
                              forecast from FTI, and email from FTI
                              (Brian Bromberg) re: same
05/18/23      RFPOP           Review and analyze updated venture          B006        0.10         89.00
                              portfolio de minimis asset sale summary
                              from PWP, and email from PWP (Nikhil
                              Velivela) re: same
05/22/23      RFPOP           Email from Paul Hastings (Erez Gilad) re: B006          0.10         89.00
                              sale process
05/23/23      RFPOP           Email from Paul Hastings (Erez Gilad) re: B006          0.10         89.00
                              sale process
05/24/23      RFPOP           Email from Paul Hastings (Ken Pasquale) B006            0.10         89.00
                              re: committee and debtors joint motion to
                              seal customer information
05/30/23      MLUNN           Evaluate analysis of venture portfolio     B006         0.40        410.00
                              issues and processes prepared by Jefferies
                              in preparation for call with UCC




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Date          Initials        Description                               Task         Hours       Amount
05/30/23      RFPOP           Emails to and from J. Kochenash and Paul B006           0.50        445.00
                              Hastings (Ken Pasquale and Isaac Sasson)
                              re: reply to objections to committee and
                              debtors joint motion to redact customer
                              information and related exhibit and
                              witness list, and review comments from
                              Isaac Sasson to same and consider related
                              issues re: same
05/31/23      MLUNN           Analyze analysis and summary prepared        B006        0.30        307.50
                              by Jefferies re: bids received for sale of
                              Anthropic shares
05/31/23      RFPOP           Review and analyze Anthropic sale            B006        0.20        178.00
                              process materials from Jefferies
05/01/23      MLUNN           Analyze draft bar date motion and revise     B007        1.80      1,845.00
                              same (1.6), including related
                              correspondence with R. Poppiti (.2)
05/01/23      MLUNN           Review issues raised by Paul Hastings      B007          0.40        410.00
                              (.2) and call with R. Poppiti re: Bar Date
                              (.2)
05/01/23      RFPOP           Review and comment on debtors draft bar B007             2.40      2,136.00
                              date motion (1.4), and emails to (.2) and
                              from (.2) M. Lunn and Paul Hastings
                              team (.2) and call with M. Lunn (.4) re:
                              same
05/02/23      RFPOP           Email to and from Paul Hastings (Gabe        B007        0.20        178.00
                              Sasson) re: debtors draft bar date motion
05/03/23      MLUNN           Review and provide comments to revised       B007        0.30        307.50
                              bar date motion
05/03/23      RFPOP           Review and comment on debtors revised        B007        0.40        356.00
                              draft bar date motion, and email from
                              Paul Hastings (Gabe Sasson) re: same
05/04/23      MLUNN           Evaluate final filed version for bar date    B007        0.30        307.50
                              motion
05/06/23      MLUNN           Review analysis of claim release issues      B007        0.20        205.00
                              and related correspondence
05/09/23      RFPOP           Review and analyze debtors revised           B007        0.20        178.00
                              proposed order for bar date motion
05/16/23      MLUNN           Correspondence with UST re: bar date         B007        0.40        410.00
                              motion and analysis of issue raised by
                              UST (.2) and correspondence with K.
                              Pasquale, E. Gilad and R. Poppiti re:
                              strategy for addressing and responding to
                              issues raised by the UST to the bar date
                              motion (.2)
05/16/23      RFPOP           Emails to and from Paul Hastings team        B007        0.30        267.00
                              and UST re: UST inquiry re: debtors bar
                              date motion

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Date          Initials        Description                                 Task       Hours       Amount
05/17/23      MLUNN           Analysis of claims and bar date memo to     B007        0.10        102.50
                              UCC members re: claims allowance
                              process and impact
05/17/23      RFPOP           Review and comment on revised draft         B007         0.40        356.00
                              notices and claim forms from counsel for
                              debtors for debtors bar date motion, and
                              email from counsel for debtors (Alexa
                              Kranzley) and UST re: same
05/18/23      MLUNN           Review revised bar date and order re:       B007         0.20        205.00
                              addressing UST issues and related
                              correspondence with UST and S&C
05/18/23      RFPOP           Emails to and from Paul Hastings (Gabe      B007         0.30        267.00
                              Sasson), counsel for debtors (Alexa
                              Kranzley) and UST re: debtors bar date
                              motion, and review additional redlines of
                              revised bar date materials re: same
05/19/23      MLUNN           Meeting with Debtors' advisors re:          B007         0.70        717.50
                              customer claims and portal
05/19/23      MLUNN           Analysis of potential claim research re:    B007         0.20        205.00
                              general partners and partnership
                              agreement
05/03/23      MLUNN           Review materials in preparation for UCC     B008         2.20      2,255.00
                              update and strategy meeting (.4); attend
                              UCC update and strategy meeting (1.8)
05/03/23      RFPOP           Call with M. Lunn, Paul Hastings, FTI       B008         1.70      1,513.00
                              and Jefferies teams, and committee re:
                              case update and strategy and upcoming
                              deadlines and tasks
05/10/23      MLUNN           Attend UCC strategy and update call with B008            1.90      1,947.50
                              members and advisors
05/10/23      RFPOP           Call with M. Lunn, Paul Hastings, FTI       B008         1.90      1,691.00
                              and Jefferies teams, and committee re:
                              case update and strategy and upcoming
                              deadlines and tasks
05/18/23      RFPOP           Email from Paul Hastings (Gabe Sasson)      B008         0.50        445.00
                              re: agenda for upcoming committee
                              meeting, and review and analyze
                              materials from Paul Hastings for same
05/19/23      MLUNN           Analyze and review materials, including B008             2.00      2,050.00
                              summary of sales, in advance of the UCC
                              meeting (.4); UCC meeting (1.6)
05/19/23      RFPOP           Call with M. Lunn, Paul Hastings, FTI        B008        1.80      1,602.00
                              and Jefferies teams, and committee re:
                              case update and strategy and upcoming
                              deadlines and tasks (1.6), and review
                              materials from Jefferies (.2) in preparation
                              for same


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Date          Initials        Description                                 Task       Hours       Amount
05/19/23      RFPOP           Call with M. Lunn, Paul Hastings, FTI       B008        0.60        534.00
                              and Jefferies teams, committee, and
                              debtors professionals re: claims
                              reconciliation process
05/24/23      RFPOP           Call with M. Lunn, Paul Hastings, FTI      B008         1.90       1,691.00
                              and Jefferies teams, and committee re:
                              case update and strategy and upcoming
                              deadlines and tasks (1.2), and review and
                              analyze materials from Paul Hastings (.4)
                              in preparation for same and follow-up call
                              with M. Lunn (.3) re: same
05/30/23      MLUNN           Review materials in connection with UCC B008            0.70        717.50
                              meeting, including materials related
                              litigations and investigations of various
                              matters, and sale processes
05/30/23      RFPOP           Review and analyze various materials        B008        0.60        534.00
                              from Paul Hastings and Jefferies in
                              preparation for weekly call with Paul
                              Hastings, FTI and Jefferies teams and
                              committee (.5), and email from Paul
                              Hastings (Leonie Koch) (.1) re: same
05/31/23      MLUNN           Attend UCC update and strategy meeting      B008        1.90       1,947.50
                              with members and advisors to the UCC
05/31/23      RFPOP           Call with M. Lunn, Paul Hastings, FTI       B008        1.90       1,691.00
                              and Jefferies teams, and committee re:
                              case update and strategy and upcoming
                              deadlines and tasks
05/02/23      MLUNN           Review and provide comments to              B009        1.20       1,230.00
                              objection to JPL stay relief motion
05/02/23      RFPOP           Review and comment on draft committee B009              1.10        979.00
                              objection to JPL stay relief motion (.9),
                              and emails to and from M. Lunn and Paul
                              Hastings (Isaac Sasson) (.2) re: same
05/03/23      DLASK           Finalize for filing and coordinate service B009         0.60        219.00
                              of objection and supporting declaration to
                              JPL Stay Motion
05/03/23      MLUNN           Review revised objection to JPL stay        B009        0.60        615.00
                              relief motion (.4) and correspondence re:
                              issues and process for same (.2)
05/03/23      MLUNN           Review Customers' objection to JPL          B009        0.20        205.00
                              motion for stay relief
05/03/23      RFPOP           Emails to and from Paul Hastings (Ken       B009        0.30        267.00
                              Pasquale and Isaac Sasson) re: deposition
                              in connection with JPL stay relief motion




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                                                                Matter Number:                102750.1001

Date          Initials        Description                                 Task        Hours       Amount
05/03/23      RFPOP           Review and finalize for filing objection to B009         1.10        979.00
                              JPL stay relief motion and declaration in
                              support thereof (.8), and emails to and
                              from Paul Hastings (Ken Pasquale and
                              Isaac Sasson) (.3) re: same
05/04/23      MLUNN           Analyze declaration of E. Mosley re:         B009        0.30        307.50
                              support of objection to JPL stay relief
                              motion
05/04/23      MLUNN           Analyze motion to enforce automatic stay B009            0.30        307.50
                              re: Pateno
05/04/23      MLUNN           Analyze deposition issues in connection      B009        0.50        512.50
                              with JPL stay relief motion and related
                              correspondence and call with R. Poppiti
05/04/23      MLUNN           Review and analyze Debtors’ objection to B009            0.60        615.00
                              JPL stay relief and assess issues in
                              connection with anticipated depositions
                              and hearing
05/04/23      MLUNN           Analyze Genesis stay relief motion           B009        0.30        307.50

05/04/23      RFPOP           Review and analyze debtors objection to      B009        1.10        979.00
                              JPL stay relief motion
05/04/23      RFPOP           Emails to and from J. Kochenash and Paul B009            0.30        267.00
                              Hastings (Ken Pasquale and Isaac Sasson)
                              re: deposition in connection with JPL stay
                              relief motion
05/04/23      RFPOP           Review and analyze debtors motion to         B009        0.30        267.00
                              enforce automatic stay against Pateno
05/04/23      RFPOP           Review and analyze class action              B009        0.30        267.00
                              claimants objection to JPL stay relief
                              motion
05/08/23      MLUNN           Analysis of discovery and anticipated        B009        0.40        410.00
                              issues re: JPL stay relief motion
05/08/23      RFPOP           Review and analyze JPL document              B009        0.20        178.00
                              request in connection with JPL stay relief
                              motion
05/09/23      MLUNN           Correspondence with R. Poppiti and I.        B009        0.20        205.00
                              Sasson re: preparation for hearing and
                              issues in connection with JPL stay relief
                              motion (.1); and related correspondence
                              with J. Kochenash (.1)
05/09/23      RFPOP           Emails to (.2) and from (.2) M. Lunn, J.   B009          0.70        623.00
                              Kochenash and Paul Hastings (Ken
                              Pasquale and Isaac Sasson) re: evidentiary
                              presentation for committee objection to
                              JPL stay relief motion and joint customer
                              redaction motion, and brief research re:
                              recent precedent (.3) re: same

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Date          Initials        Description                                   Task       Hours       Amount
05/09/23      RFPOP           Review and analyze debtors deposition         B009        0.10         89.00
                              notices in connection with JPL stay relief
                              motion
05/10/23      MLUNN           Analysis of Ad Hoc response in support        B009        0.20        205.00
                              of JPL stay relief motion
05/10/23      MLUNN           Call with R. Poppiti re: issues and         B009          0.20        205.00
                              strategy in connection with JPL stay relief
                              motion
05/10/23      RFPOP           Review and comment on draft notice of       B009          0.30        267.00
                              exhibit list for committee objection to JPL
                              stay relief motion
05/11/23      RFPOP           Review and analyze Venable ad hoc             B009        0.30        267.00
                              customer group statement in partial
                              support of JPL stay relief motion
05/11/23      RFPOP           Review and analyze Pateno response to         B009        0.20        178.00
                              debtors motion to enforce automatic stay
05/12/23      RFPOP           Review and analyze JPL reply to               B009        0.60        534.00
                              objections to JPL stay relief motion
05/14/23      MLUNN           Analyze JPL reply to stay relief              B009        0.50        512.50
                              objections
05/26/23      JYOCH           Teleconference with R. Poppiti re: lift       B009        0.40        356.00
                              stay motion and rescission
05/26/23      JYOCH           Multiple emails re: rescission and lift stay B009         0.20        178.00
                              motion
05/01/23      RFPOP           Email to and from Paul Hastings (Jack         B011        0.20        178.00
                              Iaffaldano) re: UST examiner motion
                              appeal
05/01/23      RFPOP           Emails to and from Paul Hastings (Isaac       B011        0.20        178.00
                              Sasson and Leonie Koch) re: litigation
                              update
05/02/23      MLUNN           Analyze litigation summary in preparation B011            0.20        205.00
                              for UCC meeting
05/02/23      MLUNN           Work with J. Kochenash re: examiner       B011            0.20        205.00
                              appeal briefing (.1) and call with R.
                              Poppiti re: same (.1)
05/02/23      RFPOP           Review and analyze summary                    B011        0.20        178.00
                              investigation update from Paul Hastings
05/04/23      JKOCH           Draft joinder to notice of deposition of P.   B011        0.80        448.00
                              Greaves
05/04/23      JKOCH           Email correspondence (multiple) with R.       B011        0.30        168.00
                              Poppiti and I. Sasson re: joinder to notice
                              of deposition of P. Greaves
05/05/23      RFPOP           Call from M. Lunn (.4) and email from         B011        0.50        445.00
                              Paul Hastings (Ken Pasquale) (.1) re:
                              investigation issues


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05/07/23      MLUNN           Review and evaluate Mystin Lab 2004           B011        0.30        307.50
                              request
05/07/23      MLUNN           Review and provide comments to                B011        0.40        410.00
                              objection to UST examiner ruling appeal
05/07/23      RFPOP           Review and comment on draft answering         B011        0.70        623.00
                              brief for UST appeal of UST examiner
                              motion (.6), and emails to and from M.
                              Lunn and Paul Hastings (Jack Iaffaldano)
                              (.1) re: same
05/08/23      DLASK           Finalize for filing and coordinate service    B011        0.40        146.00
                              of appellee's brief in Trustee appeal
05/08/23      MLUNN           Call with K. Pasquale re: litigation issues   B011        0.30        307.50

05/08/23      MLUNN           Review revised response brief to UST          B011        0.30        307.50
                              examiner ruling appeal
05/08/23      MLUNN           Strategy and litigation update call with R. B011          0.30        307.50
                              Poppiti
05/08/23      RFPOP           Review and finalize for filing answering      B011        0.90        801.00
                              brief for UST appeal of UST examiner
                              motion (.6), and emails to and from Paul
                              Hastings (Ken Pasquale and Jack
                              Iaffaldano) (.2) and call from Jack
                              Iaffaldano (.1) re: same
05/08/23      RFPOP           Call with M. Lunn re: litigation update       B011        0.30        267.00

05/09/23      DLASK           Prepare briefing documents for the Court      B011        0.30        109.50

05/09/23      JKOCH           Draft notices of exhibits and witness for     B011        1.80       1,008.00
                              May 17 hearing
05/09/23      JKOCH           Email correspondence (multiple) with R.       B011        0.20        112.00
                              Poppiti and M. Lunn re: notices of
                              exhibits and witness for May 17 hearing
05/09/23      MLUNN           Analysis and identification of response       B011        0.90        922.50
                              issues re: JPL motion to dismiss
05/16/23      RFPOP           Email to and from Paul Hastings (Ken          B011        0.50        445.00
                              Pasquale) re: equitable subordination
                              research, and review and analyze related
                              materials re: same
05/17/23      MLUNN           Analyze and evaluate UST's reply brief in B011            0.50        512.50
                              support of Examiner Order appeal (.4)
                              and related correspondence with K.
                              Pasquale (.1)
05/17/23      RFPOP           Review and analyze UST reply brief in         B011        0.60        534.00
                              UST examiner motion appeal, and email
                              from Paul Hastings (Ken Pasquale) re:
                              same


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05/17/23      RFPOP           Emails to and from Paul Hastings (Leonie B011             0.20        178.00
                              Koch) re: investigations update for
                              committee
05/18/23      DLASK           Review adversary dockets and, update        B011          0.40        146.00
                              critical deadline memo to incorporate
                              adversary deadlines
05/18/23      MLUNN           Analyze complaint against S. Bankman-       B011          0.90        922.50
                              Fried for fraudulent transfers in
                              connection with Embed transaction
05/18/23      MLUNN           Analysis of fraudulent transfer complaint   B011          0.50        512.50
                              against Giles and others in connection
                              with Embed transaction
05/18/23      RFPOP           Review and analyze debtors Embed            B011          0.90        801.00
                              adversary complaints
05/26/23      DLASK           Work with co-counsel on IEX documents       B011          0.30        109.50

05/26/23      MLUNN           Analyze issues and review of facts and      B011          0.80        820.00
                              legal matters re: potential litigation in
                              connection with IEX transaction
05/26/23      RFPOP           Emails to (.2) and from (.2) M. Lunn, J.    B011          2.00       1,780.00
                              Yoch, and Paul Hastings (Ken Pasquale)
                              and call with J. Yoch (.4) re: IEX
                              transaction, and review and analyze
                              related transaction documents and
                              materials (1.2) re: same
05/27/23      RFPOP           Email to and from Paul Hastings (Leonie B011              0.10         89.00
                              Kock) re: litigation update for Committee
05/30/23      JYOCH           Review IEX transaction documents and        B011          4.70       4,183.00
                              motion papers and research re potential
                              claims
05/30/23      MLUNN           Analysis of District Court opinion and       B011         0.40        410.00
                              order granting UST's request for direct
                              appeal of examiner ruling to 3d Circuit
                              and evaluation of potential issues (.3); and
                              correspondence with R. Poppiti re:
                              potential issues and next steps (.1)
05/30/23      RFPOP           Review and analyze district court opinion B011            0.50        445.00
                              and order re: UST motion to certify to
                              third circuit UST examiner motion appeal,
                              and email to and from M. Lunn and
                              consider related issues re: same
05/31/23      JYOCH           Call with R. Poppiti re equitable remedies B011           0.20        178.00

05/31/23      JYOCH           Review IEX transaction documents and        B011          5.30       4,717.00
                              motion papers and research re potential
                              claims


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Date          Initials        Description                              Task          Hours       Amount
05/31/23      RFPOP           Call with J. Yoch and emails to and from B011           0.30        267.00
                              J. Yoch and Paul Hastings (Ken Pasquale)
                              re: IEX transaction
05/23/23      RFPOP           Review and analyze Emergent motion to      B012         0.20        178.00
                              extend exclusivity deadline
05/24/23      MLUNN           Attend UCC meeting with Paul Hastings, B012             1.60       1,640.00
                              FTI and Jefferies re: plan structure
                              considerations and related issues (1.3) and
                              follow-up with R. Poppiti re: further
                              analysis of issues raised during the call
                              (.3)
05/24/23      MLUNN           Analyze issues and presentation re:        B012         0.60        615.00
                              chapter 11 plan scenarios and potential
                              structures
05/04/23      MLUNN           Analyze cash management and bank          B014          0.40        410.00
                              account issues and related correspondence
                              with PH and FTI
05/05/23      MLUNN           Analyze issues raised by UCC re: cash      B014         0.70        717.50
                              management (.3); and review
                              correspondence from UCC members and
                              summary of meeting with Debtors,
                              including related strategy (.4)
05/05/23      MLUNN           Analyze sale update and related issues     B014         0.20        205.00

05/05/23      MLUNN           Call with E. Gilad re: strategy for cash    B014        0.60        615.00
                              management issues and other sale matters
                              (.3) and call with R. Poppiti re: same (.3)
05/14/23      MLUNN           Review cash management and account         B014         0.30        307.50
                              issues and presentation from A&M
05/17/23      MLUNN           Review analysis of cash flow and budget    B014         0.30        307.50
                              prepared by FTI
05/08/23      RFPOP           Review UST comments to debtors key         B015         0.20        178.00
                              employee incentive plan motion
05/09/23      RFPOP           Review and analyze debtors response to     B015         0.20        178.00
                              UST comments to key employee
                              incentive plan motion, and email from
                              counsel for debtors (Alexa Kranzley) re:
                              same
05/10/23      RFPOP           Review and analyze UST comments to         B015         0.20        178.00
                              debtors key employee incentive plan
                              motion and debtors responses to same
05/11/23      RFPOP           Review and analyze additional UST          B015         0.20        178.00
                              comments to debtors key employee
                              incentive plan motion and debtors
                              responses thereto, and emails from
                              counsel for debtors (Alexa Kranzley) and
                              UST re: same

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Date          Initials        Description                                  Task       Hours       Amount
05/12/23      MLUNN           Analysis of UST objection to KEIP            B015        0.40        410.00
                              motion
05/12/23      RFPOP           Review and analyze UST objection to          B015        0.20        178.00
                              debtors key employee incentive plan
                              motion
05/01/23      DLASK           Finalize for filing and coordinate service   B017        0.40        146.00
                              of Jefferies fee application for February
05/01/23      JKOCH           Review Jefferies third monthly fee           B017        0.50        280.00
                              application
05/01/23      RFPOP           Review draft Jefferies February 2023         B017        0.20        178.00
                              application, including for privilege and
                              confidentiality, and emails to and from J.
                              Kochenash and counsel for Jefferies
                              (Sarah Schrag) re: same
05/08/23      DLASK           Prepare certificate of no objection for      B017        0.20         73.00
                              FTI's fee application
05/08/23      DLASK           Prepare certificate of no objection for      B017        0.20         73.00
                              Paul Hastings' fee application
05/08/23      DLASK           Prepare certificate of no objection for      B017        0.20         73.00
                              Young Conaway's fee application
05/08/23      JKOCH           Review CNO for Paul Hastings fee             B017        0.30        168.00
                              application; review CNO for FTI fee
                              application; review CNO for YCST fee
                              application
05/08/23      RFPOP           Review and analyze debtors amended           B017        0.10         89.00
                              ordinary course professionals list
05/09/23      DLASK           Finalize for filing certificate of no        B017        0.30        109.50
                              objection for Paul Hastings' 3rd fee
                              application
05/09/23      DLASK           Finalize for filing certificate of no        B017        0.30        109.50
                              objection for FTI's 3rd fee application
05/09/23      DLASK           Finalize for filing certificate of no        B017        0.30        109.50
                              objection for Young Conaway's 3rd fee
                              application
05/10/23      JKOCH           Draft second supplemental Lunn               B017        0.50        280.00
                              declaration re: disclosures
05/11/23      MLUNN           Analysis and review of fee examiner          B017        0.40        410.00
                              report re: YCST fees
05/19/23      BWALT           Email from J. Kochenash (.1); finalize    B017           0.30        109.50
                              and file second supplemental declaration
                              of M. Lunn in support of YCST retention
                              (.2)
05/19/23      MLUNN           Revise and draft supplemental declaration B017           0.20        205.00
                              re: disclosures in support of retention



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Date          Initials        Description                                  Task       Hours       Amount
05/22/23      MLUNN           Work on preparing responses to issues        B017        0.40        410.00
                              raised by Fee Examiner to First Interim
                              Fee Application
05/24/23      DLASK           Finalize for filing certificate of no        B017        0.30        109.50
                              objection for Jefferies fee application
05/24/23      JKOCH           Prepare CNO for Jefferies third monthly      B017        0.20        112.00
                              fee application and email correspondence
                              with S. Schrag (multiple) re: same
05/24/23      RFPOP           Review and analyze debtors further           B017        0.10         89.00
                              amended ordinary course professionals
                              list
05/24/23      RFPOP           Email from counsel for debtors (Matt         B017        0.10         89.00
                              Pierce) re: ordinary course rate increase
                              for LRC
05/25/23      DLASK           Update 2nd interim fee application of        B017        0.20         73.00
                              committee's professionals
05/26/23      MLUNN           Review draft fee application for FTI re:     B017        0.20        205.00
                              March to ensure compliance with local
                              rules
05/30/23      MLUNN           Prepare for call with fee examiner,          B017        1.70       1,742.50
                              including further review of memo from
                              fee examiner to YCST 1st Interim Fee
                              Application (.4); meeting (.3) and call (.3)
                              with R. Poppiti re: discussion of issues
                              and preparation for call with fee examiner
                              and call with fee examiner (.7) re: YCST
                              1st interim fee application
05/30/23      RFPOP           Call with (.3) and meet (.3) with M. Lunn B017           1.70       1,513.00
                              and call with M. Lunn and fee examiner
                              (.7) re: fee examiner first confidential
                              interim report, and review and analyze
                              report (.4) re: same
05/30/23      RFPOP           Review and analyze debtors second            B017        0.20        178.00
                              ordinary course professionals report, and
                              review ordinary course professionals
                              order re: same
05/31/23      DLASK           Finalize for filing and coordinate service   B017        0.40        146.00
                              of FTI's March fee application
05/31/23      DLASK           Finalize for filing and coordinate service   B017        0.40        146.00
                              of Paul Hastings' March fee application
05/31/23      DLASK           Finalize for filing and coordinate service   B017        0.40        146.00
                              of Young Conaway's March fee
                              application
05/31/23      MLUNN           Correspondence with D. Laskin re:            B017        0.10        102.50
                              interim fee hearing and deadlines for
                              filing monthly fee applications for 2nd
                              interim fee application

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Date          Initials        Description                               Task           Hours       Amount
05/31/23      MLUNN           Review fee applications for Paul Hastings B017            0.20        205.00
                              and FTI and related correspondence with
                              D. Laskin re: finalizing same for filing
05/31/23      MLUNN           Draft response to fee examiner report re:    B017         0.50        512.50
                              YCST 1st interim fee application and
                              correspondence with R. Poppiti re: same
05/16/23      RFPOP           Review and comment on draft YCST             B018         0.30        267.00
                              March 2023 fee application, and email to
                              and from D. Laskin re: same
05/24/23      MLUNN           Confidentiality review of April fee          B018         0.70        717.50
                              statement in preparation for submission
05/25/23      RFPOP           Review invoice for YCST April 2023 fee       B018         0.20        178.00
                              application re: confidentiality and local
                              rule compliance
05/31/23      JKOCH           Email correspondence (multiple) with D.      B018         0.30        168.00
                              Laskin and R. Poppiti re: interim fee
                              application
05/31/23      RFPOP           Review and finalize for filing YCST, Paul B018            0.50        445.00
                              Hastings and FTI March 2023 fee
                              applications, and emails to and from D.
                              Laskin and Paul Hastings (Lanie Miliotes)
                              re: same; emails to and from D. Laskin re:
                              second interim fee application
05/16/23      RFPOP           Review and analyze JPL motion to             BN014        0.90        801.00
                              dismiss adversary proceeding
05/23/23      RFPOP           Review and analyze stipulation re:           BN014        0.10         89.00
                              briefing deadlines for JPL motion to
                              dismiss adversary proceeding
05/24/23      RFPOP           Review and analyze amended deposition        BN014        0.10         89.00
                              notices in connection with JPL stay relief
                              motion
05/05/23      MLUNN           Review liquidation procedures and impact BN015            0.20        205.00
                              re: FTX preference claim
05/08/23      RFPOP           Review and analyze Voyager plan              BN015        0.20        178.00
                              liquidation procedures
05/15/23      MLUNN           Correspondence with Voyager UCC and          BN015        0.10        102.50
                              Debtors re: mediation status and
                              scheduling
05/15/23      MLUNN           Correspondence with B. Beller re:            BN015        0.10        102.50
                              Voyager mediation
05/15/23      RFPOP           Emails from M. Lunn and counsel for          BN015        0.20        178.00
                              debtors (Ben Beller) re: Voyager
                              mediation issues
05/16/23      RFPOP           Emails from mediator and counsel for         BN015        0.10         89.00
                              Voyager committee (John Calandra) re:
                              mediation issues


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05/24/23      RFPOP           Emails to and from M. Lunn, counsel for BN015             0.10         89.00
                              debtors (Ben Beller), counsel for Voyager
                              plan administrator (John Calandra) and
                              mediator re: Voyager mediation issues
05/25/23      MLUNN           Analyze issues re: Voyager adversary in      BN015        1.30       1,332.50
                              preparation for meet and confer in
                              connection with mediation (.4); meet and
                              confer with Voyager plan administrator,
                              S&C and R. Poppiti (.6); and follow-up
                              with R. Poppiti re: strategy and responses
                              following meet and confer (.3)
05/25/23      RFPOP           Call with M. Lunn, counsel for debtors       BN015        0.80        712.00
                              (Andrew Dietderich and Brian
                              Glueckstein) and counsel for Voyager
                              (John Calandra and Joseph Evans) (.5)
                              and call with M. Lunn (.1) re: Voyager
                              litigation issues, and prepare for same (.2)
05/27/23      MLUNN           Correspondence with B. Beller re: follow- BN015           0.20        205.00
                              up from call with Voyager plan
                              administrator in connection with
                              mediation and related correspondence
                              with R. Poppiti re: Debtors' position and
                              impact on UCC
05/27/23      RFPOP           Emails to and from M. Lunn and counsel BN015              0.20        178.00
                              for debtors (Ben Beller) re: mediation and
                              litigation schedule issues
05/30/23      MLUNN           Call with R. Poppiti re: analysis of      BN015           0.30        307.50
                              mediation position and potential response
                              to Debtors' email
05/30/23      RFPOP           Call with M. Lunn re: analysis of         BN015           0.30        267.00
                              mediation position and potential response
                              to Debtors' email

                                                                      Total           119.90   $105,089.50




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Timekeeper Summary

 Initials       Name                  Timekeeper Title                Hours          Rate      Amount
 BWALT          Brenda Walters        Paralegal                         0.30       365.00        109.50
 DLASK          Debbie Laskin         Paralegal                         9.00       365.00      3,285.00
 JYOCH          James M. Yoch         Partner                          10.80       890.00      9,612.00
 JKOCH          Jared W. Kochenash    Associate                         8.20       560.00      4,592.00
 MLUNN          Matthew B. Lunn       Partner                          44.20     1,025.00     45,305.00
 RFPOP          Robert F. Poppiti     Partner                          47.40       890.00     42,186.00

 Total                                                                  119.90              $105,089.50




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Task Summary

 Task Code:B001                    Case Administration

 Name                              Timekeeper Title                   Hours            Rate      Amount
 Matthew B. Lunn                   Partner                             0.90        1,025.00        922.50
 Robert F. Poppiti                 Partner                             0.70          890.00        623.00
 Jared W. Kochenash                Associate                           3.00          560.00      1,680.00
 Debbie Laskin                     Paralegal                           2.90          365.00      1,058.50

 Total                                                                  7.50                     4,284.00

 Task Code:B002                    Court Hearings

 Name                              Timekeeper Title                   Hours            Rate      Amount
 Matthew B. Lunn                   Partner                             3.80        1,025.00      3,895.00
 Robert F. Poppiti                 Partner                             2.80          890.00      2,492.00
 Jared W. Kochenash                Associate                           0.30          560.00        168.00
 Debbie Laskin                     Paralegal                           0.50          365.00        182.50

 Total                                                                  7.40                     6,737.50

 Task Code:B004                    Schedules & Statements, U.S. Trustee Reports

 Name                              Timekeeper Title                   Hours            Rate      Amount
 Matthew B. Lunn                   Partner                             0.30        1,025.00       307.50
 Robert F. Poppiti                 Partner                             0.50          890.00       445.00

 Total                                                                  0.80                       752.50

 Task Code:B006                    Use, Sale or Lease of Property (363 issues)

 Name                              Timekeeper Title                   Hours            Rate      Amount
 Matthew B. Lunn                   Partner                             2.70        1,025.00      2,767.50
 Robert F. Poppiti                 Partner                             5.70          890.00      5,073.00

 Total                                                                  8.40                     7,840.50

 Task Code:B007                    Claims Analysis, Objections and Resolutions

 Name                              Timekeeper Title                   Hours            Rate      Amount
 Matthew B. Lunn                   Partner                             4.60        1,025.00      4,715.00
 Robert F. Poppiti                 Partner                             4.20          890.00      3,738.00

 Total                                                                  8.80                     8,453.00




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 Task Code:B008                    Meetings

 Name                              Timekeeper Title                Hours            Rate       Amount
 Matthew B. Lunn                   Partner                           8.70       1,025.00       8,917.50
 Robert F. Poppiti                 Partner                          10.90         890.00       9,701.00

 Total                                                              19.60                     18,618.50

 Task Code:B009                    Stay Relief Matters

 Name                              Timekeeper Title                Hours            Rate       Amount
 James M. Yoch                     Partner                          0.60          890.00         534.00
 Matthew B. Lunn                   Partner                          5.50        1,025.00       5,637.50
 Robert F. Poppiti                 Partner                          6.90          890.00       6,141.00
 Debbie Laskin                     Paralegal                        0.60          365.00         219.00

 Total                                                              13.60                     12,531.50

 Task Code:B011                    Other Adversary Proceedings

 Name                              Timekeeper Title                Hours            Rate       Amount
 James M. Yoch                     Partner                          10.20         890.00       9,078.00
 Matthew B. Lunn                   Partner                           6.00       1,025.00       6,150.00
 Robert F. Poppiti                 Partner                           8.10         890.00       7,209.00
 Jared W. Kochenash                Associate                         3.10         560.00       1,736.00
 Debbie Laskin                     Paralegal                         1.40         365.00         511.00

 Total                                                              28.80                     24,684.00

 Task Code:B012                    Plan and Disclosure Statement

 Name                              Timekeeper Title                Hours            Rate       Amount
 Matthew B. Lunn                   Partner                          2.20        1,025.00       2,255.00
 Robert F. Poppiti                 Partner                          0.20          890.00         178.00

 Total                                                               2.40                      2,433.00

 Task Code:B014                    General Corporate Matters

 Name                              Timekeeper Title                Hours            Rate       Amount
 Matthew B. Lunn                   Partner                          2.50        1,025.00       2,562.50

 Total                                                               2.50                      2,562.50

 Task Code:B015                    Employee Matters

 Name                              Timekeeper Title                Hours            Rate       Amount
 Matthew B. Lunn                   Partner                          0.40        1,025.00        410.00
 Robert F. Poppiti                 Partner                          1.00          890.00        890.00

 Total                                                               1.40                      1,300.00


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 Task Code:B017                    Retention of Professionals/Fee Issues

 Name                              Timekeeper Title                  Hours           Rate      Amount
 Matthew B. Lunn                   Partner                            3.70       1,025.00      3,792.50
 Robert F. Poppiti                 Partner                            2.40         890.00      2,136.00
 Jared W. Kochenash                Associate                          1.50         560.00        840.00
 Brenda Walters                    Paralegal                          0.30         365.00        109.50
 Debbie Laskin                     Paralegal                          3.60         365.00      1,314.00

 Total                                                                11.50                    8,192.00

 Task Code:B018                    Fee Application Preparation

 Name                              Timekeeper Title                  Hours           Rate      Amount
 Matthew B. Lunn                   Partner                            0.70       1,025.00       717.50
 Robert F. Poppiti                 Partner                            1.00         890.00       890.00
 Jared W. Kochenash                Associate                          0.30         560.00       168.00

 Total                                                                 2.00                    1,775.50

 Task Code:BN014                   FTX Digital Chapter 15 Proceeding

 Name                              Timekeeper Title                  Hours          Rate       Amount
 Robert F. Poppiti                 Partner                            1.10        890.00        979.00

 Total                                                                 1.10                      979.00

 Task Code:BN015                   Voyager Litigation and Claims

 Name                              Timekeeper Title                  Hours           Rate      Amount
 Matthew B. Lunn                   Partner                            2.20       1,025.00      2,255.00
 Robert F. Poppiti                 Partner                            1.90         890.00      1,691.00

 Total                                                                 4.10                    3,946.00




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                                     EXHIBIT B

                                      Expenses




30528370.1
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Cost Detail

Date            Description                                                 Quantity        Amount
05/01/23        Docket Retrieval / Search                                     30.00           3.00
05/01/23        Reproduction Charges                                          108.00          10.80
05/01/23        Deposition/Transcript                                           3.00         316.80
05/02/23        Docket Retrieval / Search                                      20.00           2.00
05/02/23        Reproduction Charges                                          958.00          95.80
05/03/23        Docket Retrieval / Search                                      28.00           2.80
05/03/23        Reproduction Charges                                           51.00           5.10
05/04/23        Reproduction Charges                                           76.00           7.60
05/04/23        Docket Retrieval / Search                                      11.00           1.10
05/04/23        Teleconference / Video Conference                               2.00         140.00
05/05/23        Teleconference / Video Conference                               2.00         140.00
05/05/23        Filing Fee                                                      1.00          25.00
05/08/23        Docket Retrieval / Search                                       9.00           0.90
05/09/23        Docket Retrieval / Search                                      35.00           3.50
05/09/23        Reproduction Charges                                           50.00           5.00
05/10/23        Docket Retrieval / Search                                      60.00           6.00
05/10/23        Reproduction Charges                                            5.00           0.50
05/11/23        Reproduction Charges                                          102.00          10.20
05/11/23        Docket Retrieval / Search                                       5.00           0.50
05/12/23        Docket Retrieval / Search                                       4.00           0.40
05/15/23        Docket Retrieval / Search                                      19.00           1.90
05/18/23        Docket Retrieval / Search                                      17.00           1.70
05/22/23        Deposition/Transcript                                           1.00          12.00
05/24/23        Reproduction Charges                                           25.00          20.00
05/24/23        Docket Retrieval / Search                                      44.00           4.40
05/24/23        Reproduction Charges                                           27.00           2.70
05/25/23        Reproduction Charges                                           68.00           6.80
05/30/23        Reproduction Charges                                           78.00           7.80
05/31/23        Reproduction Charges                                           61.00           6.10
05/31/23        Docket Retrieval / Search                                       4.00           0.40

                                                               Total                        $840.80




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Cost Summary

Description                                                                                 Amount
Deposition/Transcript                                                                        328.80
Docket Retrieval / Search                                                                     28.60
Filing Fee                                                                                    25.00
Reproduction Charges                                                                         178.40
Teleconference / Video Conference                                                            280.00

                                                               Total                        $840.80




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